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                                       UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF OREGON

 United States of America                                                                          ORDER SETTING CONDITIONS
                     v.                                                                                          OF RELEASE

 Frank Edward Gable                                                                                     Case Number: 3:90-cr-00170-SI


 Frank E. Gable
                     V.
 Max Williams                                                                                           Case Number: 3:07-cv-00413-AC

IT IS ORDERED that the release of the defendant/petitioner is subject to the following conditions:

(I)       The defendant/petitioner shall not commit any offense in violation of federal, state or local law while on release in this case.

(2)       The defendant/petitioner must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C §
          14135a.

(3)       The defendant/petitioner shall immediately advise the court through Pretrial Services or defense counsel in writing of any
          change in address and telephone number.

(4)       The defendant/petitioner shall appear at all proceedings as required and shall surrender for service of any sentence imposed
          as directed. The defendant/petitioner shall next appear as directed by U.S. District Court.

                                                    Additional Conditions of Release

IT IS FURTHER ORDERED that the defendant/petitioner be released provided that the defendant/petitioner:

      •   The defendant/petitioner is to be released from the Lansing Correctional Facility at 10:00 AM (Central Time) on June 28,
          2019.
      •   The defendant/petitioner is to report in person to the U.S. Probation Office located at 500 State Avenue, Room M-35, Kansas
          City, KS immediately after being released. The defendant/petitioner is to continue reporting to that office as directed.
      •   The defendant/petitioner is not to travel outside of Kansas or Missouri without the prior permission of U.S. Pretrial Services.
      •   Find and maintain gainful full-time employment, approved schooling or a full-time combination of both, as directed and
          approved by Pretrial Services.
      •   Do not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. Section 802, unless
          prescribed by a licensed medical practitioner. This provision does not permit the use or possession of medical marijuana
          even with a physician's written certification. The defendant/petitioner is prohibited from using or possessing any synthetic
          intoxicating substance, including but not limited to ''Spice", "K-2", and other forms of synthetic marijuana
      •   The defendant/petitioner shall submit to testing for a prohibited substance if required by the pretrial services office or
          supervising officer. Testing may be used with random frequency and may include urine testing, the wearing of a sweat
          patch, and/or any form of prohibited substance screening or testing. The defendant/petitioner must not obstruct, attempt to
          obstruct, or tamper with the efficiency and accuracy of prohibited substance screening or testing.
      •   Paiticipate in drug assessment and undergo counseling as directed by U.S. Pretrial Services.
      •   Paiticipate in a mental health evaluation and counseling at the direction of U.S. Pretrial Services. The defendant/petitioner is
          also to take all medications as prescribed. The defendant/petitioner shall participate in medication monitoring if directed by
          Pretrial Services.
      •   Neither own, possess, nor control any firearm, weapon, or destructive device.
      •   Submit to search of person, place ofresidence and vehicle at the direction of U.S. Pretrial Services.
      •   The defendant/petitioner is to pay a percentage of all fees for services obtained while under Pretrial Services Supervision.
      •   Defendant/petitioner shall not ha~e contact with any witness who testified at his state-comt trial on the murder charges that
          are the subject of 3:07-cv-00413-AC. This provision does not preclude defendant/petitioner's attorneys and other members
          of his legal team from having such contact. Should any such witness reach out to the defendant/petitioner, he shall respond
          only by directing them to contact his attorney and immediately thereafter terminate contact with any such witness, and such

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          contact would not be treated as a violation of this condition.
      •   Defendant/petitioner shall not be permitted to apply for or obtain a passport or to travel internationally.
      •   In the event that this Court's order is reversed by the Ninth Circuit Court of Appeals and/or any request by
          defendant/petitioner for review by the United States Supreme Court and review is decided adversely to defendant/petitioner,
          defendant/petitioner shall report to the institution from which he was released or to such other institution as the State of
          Oregon shall designate within 72 hours of being notified of the Ninth Circuit's or the Supreme Court's adverse decision.
          Defendant/petitioner shall waive extradition to the State of Oregon, if necessary.

                                                         Advice of Penalties and Sanctions

TO THE DEFENDANT:

          YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of
release, an order of detention, forfeiture of bond, and a prosecution for contempt of court and could result in a term of imprisonment, a fine, or both.

            The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of not more than ten
years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be in
addition to any other sentence.

           Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to intimidate or attempt to
intimidate a witness, victim, juror, informant or officer .of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten
years of imprisonment, a $250,000 fine or both, to tamper with a witness,' victim or informant, or to retaliate against a witness, victim or informant, or
to threaten or attempt to do so.

         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may
be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(l)       an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined not more than
          $250,000 or imprisoned for no more than ten years, or both;

(2)       an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not more than
          $250,000 or imprisoned for no m_ore than five years, or both;

(3)       any other felony, you shall be fined not more than $250,000 or imprisoned no more than two years, or both;

(4)       a misdemeanor, you shall be fined not more than $ I 00,000 or imprisoned not more than one year, or both;

           A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a
failure to appear may result in the forfeiture of any bond posted.

                                                             Acknowledgment of Defendant

           I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                              Signature of Defendant



                                                                                                                 City, State & Zip




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Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
c:J / Alcohol detection
19'     Drug detection
D       Computer monitoring
The Court is reasonably assured the defendant will appear as directed and not pose a danger to the community or any other person.

Dir~ns to the United States Marshal/Correctional Facility
13"  The defendant is ORDERED released after processing at 10:00 AM (Central) on June 28, 2019.
D    The defendant is ORDERED temporarily released.
D    The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
     judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
     availability at a community con-ections center or residential treatment facility. If still in custody, the defendant shall be
     produced before the duty Magistrate Judge on _ _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ _ _ _ _ __


Date:~£'._,,~           ~ ~ c: / 9
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                                                                                  \ \            Signature of Judicial Officer
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                                                                                      v
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                                                                                                    John V. Acosta
                                                                                                 U.S. Magistrate Judge
                                                                                              Name and Title of Judicial Officer




cc:     Defendant
        US Attorney
        US Marshal
        Pretrial Services




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